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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

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                                   7    A1 ON TRACK SLIDING DOOR REPAIR                      Case No. 22-cv-01746-RS
                                        AND INSTALLATION, INC.,
                                   8                   Plaintiff,                            STANDBY ORDER OF DISMISSAL
                                   9            v.
                                  10
                                        SHORE FUNDING SOLUTIONS, INC.,
                                  11                   Defendant.
                                  12
Northern District of California
 United States District Court




                                  13          The Court has been informed that the above-entitled action has settled. Accordingly, the

                                  14   Court vacates all pretrial and trial dates. The parties are required to file a stipulation of dismissal

                                  15   by August 18, 2022. If a stipulation of dismissal is not filed by that date, the parties are ordered to

                                  16   appear on August 25, 2022, at 1:30 p.m. by Zoom Webinar and show cause why the case should

                                  17   not be dismissed. Failure to comply with this Order may result in dismissal of the case.

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                                  19          IT IS SO ORDERED.

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                                  21   Dated: June 24, 2022

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                                                                                          ______________________________________
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                                                                                          Richard Seeborg
                                  24                                                      Chief United States District Judge

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